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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                     )
CHINATOWN SERVICE CENTER, et al.,                    )
                                                     )
                      Plaintiffs,                    )
                                                     )
v.                                                   )      Case No. 1:21-cv-00331-JEB
                                                     )
U.S. DEPARTMENT OF HEALTH                            )
AND HUMAN SERVICES, et al.,                          )
                                                     )
                      Defendants.                    )
                                                     )
                  UPDATE ON STATUS OF PROPOSED RULEMAKING

        Pursuant to this Court’s Memorandum Opinion and Order, ECF No. 23, Defendants submit

this update on their proposed rulemaking. The United States Department of Health and Human

Services (“HHS”) Office for Civil Rights has published a proposed rule implementing Section

1557 of the Affordable Care Act, Nondiscrimination in Health Programs and Activities, 87 Fed.

Reg. 47,824 (Aug. 4, 2022), and has submitted a draft of the final rule to the Office of Management

and Budget Office of Information and Regulatory Affairs. HHS plans to issue a final rule in April

2024.


Dated: March 29, 2024                            Respectfully submitted,

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